                Case 2:22-cv-01203-JHC Document 16 Filed 08/30/22 Page 1 of 3




1                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF WASHINGTON
 2                                     SEATTLE DIVISION

 3   In re Subpoena Issued to Dave’s Redistricting App )
     ______________________________________________)
 4                                                     )            No. 2:22-cv-01203
     REPRESENTATIVE JACEY JETTON and                   )            Underlying case: League of United
 5   ADAM FOLTZ,                                       )            Latin American Citizens v. Abbott
                                                       )            No. 3:21-cv-0259 (W.D. Tex.)
 6                       Movants,                      )
                                                       )
 7                v.                                   )
                                                       )            NOTE ON MOT. CALENDAR:
 8   UNITED STATES OF AMERICA,                         )            August 26, 2022
                                                       )
 9                       Respondent.                   )
     ______________________________________________)
10
                                      UNITED STATES’ NOTICE RELATED TO
11                                     TRIAL OF UNDERLYING LITIGATION

12           The United States hereby notifies this Court that trial in the litigation underlying this

13   matter, which was scheduled to begin on September 28, 2022, has been postponed. See Order,

14   League of United Latin Am. Citizens (LULAC) v. Abbott, No. 3:21-cv-0259, ECF No. 569 (Aug.

15   30, 2022); see also U.S. Resp. 2 (noting trial date as background in responding to Motion to

16   Quash). A new trial date has not yet been set. The United States will file an additional notice

17   with this Court regarding the new trial schedule, when set.

18

     United States’ Notice to Court                                         United States Department of Justice
     Case No. 2:22-cv-01203                                                     950 Pennsylvania Avenue, NW
                                                                                       Washington, D.C. 20530
                Case 2:22-cv-01203-JHC Document 16 Filed 08/30/22 Page 2 of 3




 1   Dated: August 30, 2022                JOHNATHAN SMITH
                                           Acting Principal Deputy Assistant Attorney General
 2                                         Civil Rights Division

 3                                         REBECCA B. BOND
                                           Acting Deputy Assistant Attorney General
 4                                         Civil Rights Division

 5                                         /s/ L. Brady Bender
                                           T. CHRISTIAN HERREN, JR.
 6                                         TIMOTHY F. MELLETT
                                           DANIEL J. FREEMAN
 7                                         L. BRADY BENDER
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11
                                           Counsel for Respondent the United States
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                                                                           Washington, D.C. 20530
                Case 2:22-cv-01203-JHC Document 16 Filed 08/30/22 Page 3 of 3




 1                                    CERTIFICATE OF SERVICE

 2           I hereby certify that on August 30, 2022, I electronically filed the foregoing under seal

3    with the Clerk of the Court using the CM/ECF system, which will serve a copy of this document

4    upon all counsel of record.

 5   Dated: August 30, 2022                        /s/ L. Brady Bender
                                                   L. Brady Bender
 6                                                 Voting Section
                                                   Civil Rights Division
 7                                                 U.S. Department of Justice
                                                   950 Pennsylvania Ave, NW
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 9                                                 laura.bender@usdoj.gov

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     United States’ Notice to Court                                       United States Department of Justice
     Case No. 2:22-cv-01203                                                   950 Pennsylvania Avenue, NW
                                                                                     Washington, D.C. 20530
